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IN THE UNITED STATES DISTRICT COURT _
FOR THE WES'I`ERN DISTRICT OF TENNESSE[E JUL 6 P" 3' 21

 

 

WESTERN DIVISION m M. mci
Cl.EH(. UtS. DlSlii_lCT Olel_ l
) tr , liz»;;.,
MARILYN JOHNSON, et al., )
)
Piaimiffs, ) ease Nos; 00-2608 D P//__“
) 04-2017 D P
)
vs. )
)
CITY OF MEMPHIS, )
)
Defendant. )
)
FLORENCE BILLINGSLEY, et al., )
)
Plaintiffs, )
)
vs. ) Case No.: 04-2013 D A
)
CITY OF MEMPHIS, )
)
Defendant. )

 

ORDER ESTABLISHING ORDER OF PROOF FOR TRIAL PURPOSES

 

'l`he parties in this case appeared before the Court on July 1, 2005, for a scheduling
conference Among other matters, the parties argued regarding the order of proof and acknowledged
certain burden shining standards inherent in the trial. lt appears that the Court has ruled on a number
of issues in summary judgment orders which may shift the burden of persuasion or the burden of
production in certain instances

Having considered the case matter as a whole, and considering that this is a non-jury trial,

   

the Court hereby orders that the plaintiffs will present their proof first, followed by a present `

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with Flulo 58 and/or 79{a] FRCP on

  

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of the defendant’s proof, except that on the matter of expert proof, the plaintiffs may present its
rebuttal expert proof after the defendant has presented its case, including its expert witnesses. Thus,
the order of proof will proceed as a traditional trial with the plaintiff presenting its case in chief first,
followed by the defendant’s presentation of its case in chief, followed by the plaintiffs rebuttal
proof. The Court Will sort out and address the shifting burdens as it prepares its merits decision.

IT ls so oRDERED Q"‘\ day 0fJu1y,2005.

 

ED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 363 in
case 2:00-CV-02608 Was distributed by fax, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

